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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 NORTHERN DIVISION

MICHAEL WARNER                                                                        PLAINTIFF

v.                             Case No. 3:24-cv-00230 KGB

LOWE’S HOME CENTERS, LLC                                                             DEFENDANT

                                    JOINT RULE 26(f) REPORT

        Michael Warner (“Plaintiff”) and Lowe’s Home Centers, LLC (“Defendant”) submit the

following information required by Rule 26(f) of the Federal Rules of Civil Procedure and Local

Rule 26.1.

        1.     Any changes in timing, form, or requirements of mandatory disclosures

     under Fed. R. Civ. P. 26(a).

        The parties agree to exchange initial disclosures as set forth in Federal Rule of Civil

Procedure 26(a)(1) on or before March 5, 2025.

        2.     Date when mandatory disclosures were or will be made.

        The parties agree that the mandatory disclosures set forth in Federal Rule of Civil

Procedure 26(a) will be made as follows:

        (a)    Initial disclosures under Rule 26(a)(1) will be made on or before March 5, 2025,

as set forth in paragraph 1.

        (b)    Plaintiff’s expert disclosures under Rule 26(a)(2) will be made no later than May

16, 2025.
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        (c)     Defendant’s expert disclosures under Rule 26(a)(2) will be made no later than

May 16, 2025.

        (d)     Plaintiff’s rebuttal expert disclosures under Rule 26(a)(2) will be made no later

than June 16, 2025.

        (e)     Pretrial disclosures under Rule 26(a)(3) will be made no later than September 23,

2025.

        3.      Subjects on which discovery may be needed.

   Standard discovery on liability, damages, and affirmative defenses may be needed.

        4.      Whether any party will likely be requested to disclose or produce

   information from electronic or computer-based media.

        Yes.

        a.      whether disclosure or production will be limited to data reasonably available

        to the parties in the ordinary court of business;

        Yes.

        b.      the anticipated scope, cost and time required for disclosure or production of

        data beyond what is reasonably available to the parties in the ordinary course of

        business;

        None.

        c.      the format and media agreed to by the parties for the production of such data

        as well as agreed procedures for such production;

        The parties anticipate that they will print and produce such data or produce the data in a

format that is readable by all parties.
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       d.      whether reasonable measures have been taken to preserve potentially

       discoverable data from alteration or destruction in the ordinary course of business

       or otherwise;

       Yes.

       e.      other problems which the parties anticipate may arise in connection with

       electronic or computer-based discovery.

       None at this time.

       5.      Date by which discovery should be completed.

       The parties propose that discovery be completed no later than July 31, 2025.

       6.      Any needed changes in limitations imposed by the Federal Rules of Civil

   Procedure.

       None.

       7.      Any orders, e.g. protective orders, which should be entered.

       None.

       8.      Any objections to initial disclosures on the ground that mandatory

   disclosures are not appropriate in the circumstances of the action.

       None.

       9.      Any objections to the proposed trial date.

       None.

       10.     Proposed deadline for joining other parties and amending the pleadings.

       The parties propose that the deadline for seeking to join other parties or amend pleadings

be April 22, 2025.
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11.     Proposed deadline for completing discovery.

The parties propose that discovery be completed no later than July 31, 2025.

12.     Proposed deadline for filing motions.

The parties propose that all dispositive motions be filed no later than August 15, 2025.

13.     Estimated length of trial.

The parties anticipate that trial will last two days.

                                        Submitted by:

                                        Lee D. Curry, Ark. Bar No. 2014153
                                        Jared W. Capps, Ark. Bar No. 2023098
                                        DASPIT LAW FIRM
                                        124 W. Capitol Ave., Ste. 1820
                                        Little Rock, AR 72201
                                        Phone: (501) 512-0367
                                        Fax: (713) 587-9086
                                        lcurry@daspitlaw.com
                                        jcapps@daspitlaw.com

                                        Attorneys for Plaintiff


                                        Thomas G. Williams, Ark. Bar No. 88186
                                        Falyn E. Traina, Ark. Bar No. 2024165
                                        QUATTLEBAUM, GROOMS & TULL PLLC
                                        111 Center St., Ste. 1900
                                        Little Rock, AR 72201
                                        Phone: (501) 379-1700
                                        Fax: (501) 379-1701
                                        twilliams@qgtlaw.com
                                        ftraina@qgtlaw.com


                                        Attorneys for Defendant Lowe’s Home Centers, LLC
